
PER CURIAM.
We have for review a decision certifying the following question to be of great public importance:
DOES THE DECISION IN CONEY [v. State, 653 So.2d 1009 (Fla.1995)] APPLY TO “PIPELINE CASES,” THAT IS, THOSE OF SIMILARLY SITUATED DEFENDANTS WHOSE CASES WERE PENDING ON DIRECT REVIEW OR NOT YET FINAL DURING THE TIME CONEY WAS UNDER CONSIDERATION BUT PRIOR TO THE ISSUANCE OF THE OPINION?
Lett v. State, 668 So.2d 1094, 1095-96 (Fla. 1st DCA 1996). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
We answered this question in Boyett v. State, 688 So.2d 308 (Fla.1996). There we wrote:
In Coney, we expressly held that “our ruling today clarifying this issue is prospective only.” Unless we explicitly state otherwise, a rule of law which is to be given prospective application does not apply to those cases which have been tried before the rule is announced. Because Boyett had already been tried when Coney issued, Coney does not apply.
Boyett, 688 So.2d at 310 (citations omitted).
*1297Accordingly, we answer the certified question in the negative and approve the decision of the district court.
It is so ordered.
KOGAN, C.J., and OVERTON, SHAW, GRIMES, HARDING, WELLS and ANSTEAD, JJ., concur.
